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                          LEVIN-EPSTEIN & ASSOCIATES, P.C.
_____________________________________________________________________________________________
                           60 East 42nd Street • Suite 4700 • New York, New York 10165
                                   T: 212.792-0048 • E: Jason@levinepstein.com



                                                                                         July 22, 2021

Via Electronic Filing
The Honorable Stewart D. Aaron, U.S.M.J.
U.S. District Court, Southern District of New York
500 Pearl St.
New York, NY 10007-1312

                        Re:      Antolini v. McCloskey et al
                                 Case No.: 1:19-cv-09038-GBD

Dear Honorable Magistrate Judge Aaron:

       This law firm represents Defendants Dimur Enterprises Inc., Amy McCloskey, Theresa
Laurent, Eddie C K Chung and C&S Millennium Real Estate (collectively, the “Defendants”) in
the above-referenced action.

       Pursuant to Your Honor’s Individual Practice Rules I(A) and II(B), this letter respectfully
serves to respond to the July 22, 2021 letter motions [Dckt. Nos. 200, 202] of Plaintiff Dino
Antolini (the “Plaintiff”), requesting an extension of time to complete his continued virtual
deposition.

       As set forth more fully below, in light of Plaintiff’s counsel’s ongoing disregard for
discovery protocols and this Court’s Orders, and Plaintiff’s failure to appear for his Court-Ordered
deposition, it is respectfully requested that the Court enter an order for sanctions, up to and
including a recommendation that Plaintiff’s action be dismissed for his failure to obey discovery
orders pursuant to Fed.R.Civ.P. 37(b) and/or failure to prosecute pursuant to Fed.R.Civ.P. 41(b).
[See Dckt. No. 191].

        This afternoon, at 11:12 a.m., the Plaintiff’s counsel emailed the undersigned as follows:

        “Attached is the letter sent to Magistrate Aaron today. If you want to work it out
        feel free to email me back with any suggestions. If you want to call, then make sure
        to tell me first you're not recording. Otherwise, I'll stay with the present mode.”
        In response, the undersigned advised Plaintiff’s counsel that an exchange of letters or
emails does not satisfy the Court’s meet-and-confer requirement, and requested that that Plaintiff’s
counsel call the undersigned counsel directly to discuss his proposed application. [See Individual
Rule II(A)].
       At 12:32 p.m., the undersigned received a phone call from Plaintiff’s counsel. In the
beginning of our call, the undersigned asked Plaintiff’s counsel to answer basic questions
regarding: (i) Plaintiff’s unavailability; and (ii) his efforts to ensure that Plaintiff has the required
technology in advance of his deposition, noticed for July 23, 2021.


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       Plaintiff’s counsel refused to answer any of the undersigned’s questions, abruptly
terminated the phone call, and threatened to seek unnecessary judicial intervention.
       In an email sent on 2:25 p.m., the undersigned emailed Plaintiff’s counsel as follows:
       Mr. Finkelstein,
       1. We do not consent to conducting a telephonic deposition. We note your prior
          request for a telephonic deposition was denied. [See Dckt. No. 150].

           In order to respond to your sperate request to adjourn tomorrow’s deposition,
           please respond to the following questions:

       2. When was the deponent’s wife initially scheduled to appear at Bellevue
          Hospital tomorrow?

       3. Why is the deponent’s attendance at Bellevue Hospital tomorrow necessary?

       4. What efforts has the deponent made to secure alternative arrangements for his
          wife at her medical appointment tomorrow?

       5. When did the deponent’s grandson leave to Italy?

       6. When is the deponent’s grandson scheduled to come back from Italy?

       7. What efforts has the deponent made since June 25, 2021 to ensure he has the
          required technology for his virtual deposition?

       8. What efforts have you made since June 25, 2021 to consult with the deponent
          to ensure that he has the required technology for his virtual deposition, noticed
          for July 23, 2021?

        Plaintiff’s counsel never responded to the undersigned’s email, and proceeded to file the
instant letter motion.

       Thus, Plaintiff’s letter motion contains a material misstatement of fact, insofar as it
represents that the undersigned “did not respond to the scheduling of a new [deposition] date”.
[See Dckt. No. 202]. Moreover, Plaintiff, once again, failed to adhere to Your Honor’s Individual
Rules and meet-and-conferral orders.

       The undersigned law firm has incurred unnecessary attorneys’ fees and Court Reporter fees
as a result of Plaintiff’s counsel’s unilateral termination of the Court-Ordered deposition,
scheduled for July 23, 2021.

       In light of Plaintiff’s counsel’s ongoing disregard for discovery protocols and this Court’s
Orders, and Plaintiff’s failure to appear for his Court-Ordered deposition, it is respectfully
requested that the Court enter an order for sanctions, up to and including a recommendation that

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Plaintiff’s action be dismissed for his failure to obey discovery orders pursuant to Fed.R.Civ.P.
37(b) and/or failure to prosecute pursuant to Fed.R.Civ.P. 41(b).

      We thank the Court for its attention to this matter and are available at the Court’s
convenience to answer any questions related to the foregoing.

                                                       Respectfully submitted,

                                                       LEVIN-EPSTEIN & ASSOCIATES, P.C.

                                                       By: /s/ Jason Mizrahi
                                                           Jason Mizrahi
                                                           60 East 42nd Street, Suite 4700
                                                           New York, NY 10165
                                                           Tel. No.: (212) 792-0048
                                                           Email: Jason@levinepstein.com
                                                           Attorneys for Defendants

VIA ECF: All Counsel




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